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Exhibit F
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Subject Paige Complaint Developer Complaint DOJ Complaint
Paige v. Google, et al., No. 1:20- | Pure Sweat Basketball Inc., et al. | United States v. Google LLC,
cv-03158, ECF No. 1 v. Google LLC, et al., No. 3:20- et al., No. 1:20-cv-03010,
cv-05792, ECF No. 56 ECF No. 1

Development | Google was launched in 1998 asa | The market for licensable smart | Search advertising _first
of Search and | general online search engine that | mobile OSs is characterized by | appeared on Google in 2000.
AdWords served users web results in| high barriers to entry and | During that same year Google

response to online queries. | expansion. First, development of | launched AdWords, its buying

Google’s key innovation was its | a smart mobile OS requires an | platform for search ads. Two

PageRank algorithm, which | enormous investment of time and | years ago, Google rebranded

ranked the relevance of a|money in research and | AdWords as Google Ads.

webpage by assessing how many | development. Google claims, for

other webpages linked to it. | example, that it subsidized the | Compl. at { 26.

PageRank enabled Google to | development of Android through

improve the quality of its search | advertising revenue derived from

results even as the web rapidly | Google Search and Chrome.

grew in contrast with the

technology used by rival search | Compl. at § 50.

engines. While Google had

entered a crowded field, it had

become the world’s largest search

engine by 2000. Google launched

AdWords, an online advertising

service that let businesses

purchase keyword advertising to

appear on Google’s search results

page—an offering that would

evolve to became the heart of

Google’s business model—later

that year.

Compl. at { 12.
Android In order to establish dominance, | Google owns and controls the | The answer started with
Being Open- | Google released the Android | Android OS. Ostensibly, the code | Android, a mobile operating
Source Wasa | mobile operating system. Google | for the operating system itself is | system that Google purchased
Key to It’s released the Android code for free | open-source. According to]in 2005. In 2007, Google
Popularity as “open source,” which means | Google, anyone can download, | released the Android code for

 

that anyone could access the code
and modify it. Modifying the
operating system constitutes a
“fork.”

Compl. at 4 19.

 

use, and modify the Android OS
source code, as long as Google
allows it. Google calls this aspect
of its OS the Android Open
Source Project (AOSP). As
Google puts it: Android is an open
source operating system for
mobile devices and a

 

free under an open-source
license. Being “open source”
means that anyone can access
the source code and use it to
make their own, modified
operating system—a “fork.”
This was key to Android’s
adoption.

 

 
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The open source aspect of the
Android OS was key to its wide
adoption by OEMs (such as LG,
Motorola, Samsung, etc.) and
phone carriers (such as AT&T, T-
Mobile/Spring, Verizon,  etc.).
Google’s supposed lack of control
over an open source OS led
skeptical OEMs and phone
carriers to use Android instead of
other choices then available. The
open source model suggested that
the distributors, and not Google,
would ultimately retain control
over their devices and the app
ecosystem on those devices.

Compl. at J 20.

 

corresponding open source
project led by Google. This site
and the Android Open Source
Project (AOSP) repository offer
the information and source code
needed to create custom variants
of the Android OS, port devices
and accessories to the Android
platform, and ensure devices meet
the compatibility requirements
that keep the Android ecosystem a
healthy and stable environment
for millions of users.

Compl. at { 69.

But the open-source code only
enables a device’s most basic
functions. As Google explains:
“The Android Open-Source
Project (AOSP) is the core
software stack behind the Android
OS and consists of the operating
system, middleware, and open-
source apps like a phone dialer,
email, and messaging. Mobile
operators, device makers, and
developers can use this to build
devices and apps.”

Compl. at { 62.

What makes a mobile device

marketable and attractive to
modern consumers is its
apps. Google has developed

several popular apps, including
YouTube, Google Maps, Gmail as
well as the Google Play client,
among others. These are
proprietary apps, and they are

decidedly not open-source.
Smartphone and tablet
manufacturers must sign

agreements to pre-install these
apps on their Android OS devices,

 

Compl. at ¢ 60.

First, Google’s apparent lack
of control over an open-source
operating system

attracted skeptical
manufacturers and carriers of
mobile phones to use Android
instead of the other choices
then available. As the Android
team leader observed to
Google’s board of directors,
“Google was historically seen
as a threat” to these
distributors. But an open-
source model suggested that
they—and not Google—
would ultimately retain control
over their devices

and the app ecosystem on
those devices.

Compl. at J 61.

 

 
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and for devices sold into the U.S.,
they come bundled together as a
suite— manufacturers who want
to pre-install any one of them
must pre-install all of them.71
Google refers to this program as
Google Mobile Services. As
Google touts it: The best of
Google, right on your devices
Google Mobile Services brings
Google’s most popular apps and
APIs to your Android devices.
Google’s most popular apps, all in
one place Google Mobile Services
(GMS) is a collection of Google
applications and APIs that help
support functionality across
devices. These apps work together
seamlessly to ensure your device
provides a great user experience
right out of the box.

Compl. at { 72.

 

 

Network
Effects Lead
to High
Barriers to
Entry

 

However, once the distributors
agreed to use Android OS, app
developers looking for wide
distribution of their apps were
then incentivized by Google to
develop apps compatible with
Android OS. As more apps
became available on Android OS,
the operating system became
more attractive to consumers
which in turn led to even more
developers designing for
Android.

Compl. at { 21.

To achieve desired network
effects and make the Android
system ubiquitous, Google then
“shared” its search advertising
and app store revenues with
distributers to further induce
distributors to give up control

 

The European Commission also
has concluded that there are high
barriers to entering the market for
Android OS app distribution. The
same factors it cited as high
barriers to entry in “the worldwide
market (excluding China) for
licensable smart _— operating
system,” where Google’s Android
OS was estimated in 2018 to have
“a market share of more than
95%,” apply as well with respect
to entry into the U.S. market for
Android OS app distribution:

There are high barriers to
entry in part due to
network effects: the more
users use a smart mobile
operating system, the
more developers write

 

Second, once enough major
distributors agreed to use
Android, the operating

system attracted developers
looking for wide distribution
of their apps. As more app
developers focused their
efforts on designing Android
apps, Android became more
attractive to consumers, which
in turn led even more
developers to design for
Android. The result was a
must-have ecosystem of
Android apps.

Compl. at § 62.

Third, to help the Android
ecosystem achieve critical
mass and to advance the

network effects, Google
“shared” its search advertising

 

 
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over the OS and what apps come
preinstalled on mobile devices.

Compl. at { 22.

apps for that system —
which in turn attracts
more users. Furthermore,
significant resources are
required to develop a
successful licensable
smart mobile operating
system.

Compl. at 7 108.

and app store revenues with
distributors as further
inducement to give up control.
As one senior executive
explained about Android
Market, an earlier name for
Google’s app store, “Android
Market is a bitter pill for
carriers, and a _ generous
revenue share is the sugar that
makes it go down smoother.”
In other words, beginning over
ten years ago, Google used
revenue sharing to attract
partners to Android; as
discussed below, Google uses
revenue sharing to keep them
locked in today.

Compl. at { 63.

 

 

Google’s
Anti-Forking
Agreements

 

Google solidified market
dominance of Android OS
through a series of contracts with
distributors designed to minimize
competition. Google requires
OEMs such as LG, Motorola, and
Samsung to enter “anti-forking
agreements.” These agreements
specifically forbid OEMs from
developing or distributing
versions of Android that do not
comply with onerous Google-
controlled technical standards.
The signatories may not distribute
devices with Android forks, or us
their powerful brands to market
forks on behalf of third parties. As
a result of Google’s
anticompetitive practices,
Android OS represents over 95
percent of licensable mobile
operating systems for
smartphones and tablets in the
United States.

Compl. at § 23.

 

Over time, Google has moved
more and more apps into its
proprietary, non-opensource

universe of apps, as well as
services that make third-party
apps work effectively, in ways
that users have come to expect
(e.g., by calling up map services,
now through the proprietary
Google Maps). As one analyst
describes Google’s machinations:

Over time, Google began
migrating applications —
like Search, Music, and the
Calendar — out of AOSP
and into GMS. Any OEM
wanting to use AOSP to
build its own Android fork
would now have to build
their own versions of these
apps, on top of email,
maps, and so on. (Ars

Technica has a _ good
rundown of the application
migration here.) On top of

 

Google’s anti-forking
agreements specifically forbid
manufacturers from
developing or distributing

versions of Android that do not
comply with Google-
controlledtechnical standards,
as defined in its Android
Compatibility Definition
Document (CDD).

Compl. at J 68.

Google’s anti-forking
agreements, however, have
inhibited operating system

innovation through forking,
ensuring that manufacturers
and distributors are beholden
to Google’s version of
Android. Distributors know
that any violation of an anti-
forking agreement could mean
excommunication from
Google’s Android ecosystem,
loss of access to Google’s

 

 
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that, the device would lack
the Google services APIs
that lots of third-party apps
need. And Google didn’t
stop there. Google Mobile
Services mutated into
Google Play Services in
September 2012.

A fork in the road: Why
Google Play Services is
key to understanding
the ‘forking’ question

Back in May 2013 at the
Google I/O Keynote there
was no mention of

an Android upgrade.
Instead, Google announced
a bunch of new

features to be rolled out to
Android devices via
Google Play Services.
Google had started to move
away from Android-as-
platform to Play
Services-as-platform. As
Ron Amadeo writes: ‘Play
Services has

system-level powers, but
it’s updatable. It’s part of
the Google apps

package, so it’s not open
source. OEMs are not
allowed to modify it,
making it completely under
Google’s control... If you
ever question the power of
Google Play Services, try
disabling it. Nearly every
Google App on your device
will break.’ It is ‘a single
place that brings in all of
Google’s APIs on Android
2.2 and above.’ Things like
Play

 

must-have GPS and Google
Play, and millions or even
billions of dollars in lost
revenue sharing.

Thus, distributors avoid
anything that Google might
deem “fragmentation”—a
term that Google “purposely
leave[s] . . . very vague” and
interprets broadly.

Compl. at J 128.

 

 
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Google
and

Game _ services,
Cloud Messaging
fused location services
are all handled by Play
Services, and not the OS.

Compl. at 7 65.

 

Control of
Android OS
Allowed
Google Play
to Become the
Dominant
App Store

With control over the dominant
Android OS, Google exercised its
monopoly power to establish the
Google Play Store as_ the
dominant “store” by which other
applications can be downloaded
for use by consumers on the
Android ecosystem.

Compl. at 4 24.

Google’s Android OS10 is one of
the two dominant mobile device
operating systems. Google Play is
the 1,000-pound gorilla of app
providers to the many hundreds of
millions of Android OS device
consumers. While Google does
not publish its share among app
stores for the Android mobile
operating system, in the European
Economic Area, it is at “more than
90%.”

Compl. at 4 5.

By 2010, the Android team
leader noted that “Android is
poised for world domination—
the success story of the
decade.” He was right; the
strategy worked. The “Google
Play” app store has a massive
library of apps, making it
essential for Android
distributors to have on their
devices. As for the operating
system itself, it quickly
became the dominant
licensable mobile operating
system in the United States. In
the four years between 2009
and 2012, Android’s share of
licensable mobile operating
systems on smartphones in the

United States more than
tripled, reaching about 80
percent. Today, Android

represents over 95 percent of
licensable mobile operating
systems for smartphones and
tablets in the United States and
accounts for over 70 percent of
all mobile device usage
worldwide. The only other
mobile operating system with
significant market share in the
United States is Apple’s iOS,
which is not licensable.

Compl. at { 64.

 

 

Pre-
Installation
and a Lack of

 

Google required that mobile
device OEMs pre-install the
Google Play Store on all mobile
devices, knowing that users rarely

 

Manufacturers of smart mobile
devices (“device manufacturers”)
pre-install smart mobile OSs on
devices before selling them to

Google uses preinstallation
agreements—MADAs—to
ensure that its entire suite

 

 

 
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Software
Competition

 

change defaults. Google also
refuses to allow any rival app
store to be downloaded from the
Google Play Store. Indeed, third-
party app stores could only be
accessed by “sideloading,” a
complicated multi-step process
where users are warned that
sideloading is unsafe. Thus, while
Google theoretically permits
sideloading third-party app stores,
few users pursue this option
because Google implements
significant frictions designed to
steer consumers away from
sideloading.

Compl. at J 25.

Google also limits basic app
functions that are available to
apps downloaded on the Google
Play Store, including making it
more difficult for users to update
apps (versus automatic updates in
the mobile device’s background).

Compl. at § 26.

Because the Google Play Store is
the primary way users install
applications on Android devices,
the Play Store effectively
functions as a gatekeeper for
software distribution on all
mobile devices with Android OS.

Compl. at { 27.

 

retailers and end users. Most
device manufacturers do

not develop their own OSs but
instead license Google’s Android
OS. The most widely-used mobile
non-Android OS outside of China

is Apple’s iOS. But because

Apple does not license its
operating system to device
manufacturers, instead
manufacturing its own smart

phones and tablets, Apple’s
iOS is not an option for device
manufacturers.

Compl. at { 44.

Non-licensable smart mobile OSs
such as Apple’s iOS do not belong
to the same product market as
licensable smart mobile OSs.
From the demand side, device
manufacturers cannot obtain a
license to pre-install Apple’s iOS
because Apple does not license

iOS to competing device
manufacturers. As even Google
has conceded, device

manufacturers cannot switch to
non-licensable OSs such as iOS.

Compl. at 7 45.

 

of search-related products is
given premium placement on

Android GMS __ devices.
Consumers naturally and
regularly turn to these
prominently placed search
access points to conduct
searches. Preinstallation
agreements also reinforce
Google’s anti-forking
requirements, either by

including an  anti-forking
clause of their own or, more
commonly, requiring device
manufacturers to be
signatories to an anti-forking
agreement.

Compl. at J 133.

Another key part of GMS is
the set of APIs that allow
developers to access certain

important features. The APIs
available within GMS are part
of “Google Play Services”
(GPS). GPS allows apps,
including third-party apps, to
perform functions that are not
possible using the open-source
version of Android. For
example, using the open-
source Android system, third-
party apps cannot provide
basic “push notifications,”
enable in-app purchases
through Google Play, or use
data from Google Maps; to
have these functionalities,
third-party apps must use GPS.

Compl. at J 74.
The integration of key

functions with GPS makes it
more difficult for third-party

 

 
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Android developers to port
their apps to Android forks
because the apps are designed
to interact with Google’s
proprietary APIs. And as the
functionality gap between
open-source Android apps and

Google’s proprietary apps
grows, developers are more
dependent on GPS.

Compl. at J 75.

 

 

MADA
Agreements
Allow Google
to Expand its
Monopoly

 

Google maintains a monopoly in
the Android Mobile App Market
and is able to _ charge
supracompetitive prices for
mobile app and in-app purchases.
Google uses anticompetitive
covenants in Google’s Mobile
Application Distribution
Agreement (““MADA”), requiring
OEMs to license the entire suite
of Google applications and
services in order to also license
the Android OS. Google also
requires OEMS to pre-install the
Google Play Store on its home
page. If OEM refuse these
restrictive terms and conditions,
they lose access to the Android
OS.

Compl. at J 30.

As a result of the MADA terms
and conditions, Google has
successfully prevented
competition from its rivals in the
Android Mobile App Market.
Google’s MADA agreements also
allow Google to _ charge
supracompetitive prices for
mobile app and in-app purchases,
harming Plaintiff and Class

 

Previously leaked copies of
Google’s contracts with device
manufacturers, called MADAs,
provide details of Google’s
abusive market manipulation.
Upon information and belief, the
same or similar contracts, or those
with the same intent or
restrictions, remain in use today.

Compl. at ¥ 93.

If a smartphone or _ tablet
manufacturer such as Acer,
Samsung, or HTC wishes, for
example, to pre-load Google’s
popular and exclusive YouTube
app on a given Android OS phone
or tablet, then Google requires
that the manufacturer agree via its
MADA to pre-load Google Play
on the device as well. This results
in a tremendous advantage for
Google in that yet more devices
will carry its store client to the
exclusion of competing apps and
store clients.

Compl. at {| 94.
Additionally, such a manufacturer

must agree via this contract that it
will pass a socalled

 

Manufacturers agree to anti-
forking agreements in part
because they are a
precondition to receiving a
license to distribute devices
with must-have proprietary
Google apps and APIs (the set
of technical specifications that
enable software applications to
communicate with each other,

operating systems, and
hardware). This license is
provided only through

preinstallation agreements—
called Mobile Application
Distribution Agreements, or
MADAs. Leading Android
device manufacturers, such as
LG, Motorola, and Samsung,
are MADA licensees.

Compl. at J 72.

Signing a preinstallation
agreement is the only way for
an Android device
manufacturer to preinstall any
Google app, including Google
Play. It is also the only way an
Android device manufacturer
can gain access to GPS and the
APIs many developers need
for their apps to work properly,

 

 
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Members by limiting consumer
choice.

Compl. at 7 31.

 

Android Compatibility Test as to
that device, which Google
administers and controls in its
sole discretion. This ties
Google’s restraint on the
production of devices using
Android forks as their operating
systems, which in turn restricts
avenues for distribution of
competing app-store clients, as
discussed herein.

to

Compl. at J 95.

Plaintiffs do not yet have
sufficient information to identify
all other manufacturers beyond
Acer, Samsung and HTC that
have, or have had, MADAs with
Google containing these specific
(or functionally equivalent) terms.
But the Joint Submission of
Corrected Exhibit List submitted
in a matter called Oracle v.
Google lists MADAs between
Google and a who’s who of
Android OS device
manufacturers, including LG and
Sony. Unfortunately, — these
MADAs are not available for
public inspection because they
were not entered into evidence in
the case. It appears

likely, however, that Google has
insisted on similar arrangements
with some or all of these other
manufacturers, in violation of
federal and state law, and to the
detriment of competition and
consumers.

Compl. at { 96.

Furthermore, Google also
currently provides a long list of
brands whose devices are

 

at least without expensive and
time-consuming
reprogramming. But any
manufacturer installing
Google Play or GPS must
preinstall a full suite of apps
identified by Google,
including the search access
points most frequently used by
consumers: Chrome, Google
search app, Google search
widget, and Google Assistant.
Google’s search engine is the
default on all these search
access points. Indeed, Google
uses the MADAs to control the
appearance of Android
devices, requiring the
manufacturer to place the
Google search widget on the
home screen, and to preinstall
Chrome, the Google search
app, and other apps in a way
that makes them undeletable
by the user.

Compl. at { 76.

Moreover, before 2017, most
MADAs also required
manufacturers to set Google
as the default general search
engine for all key search
access points on any device
with preinstalled Google
apps—these requirements are
now found in the revenue
sharing agreements discussed
below.

Compl. at | 77.

 

 
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equipped with the GMS suite
(including, of course, Google
Play). As alleged herein, Google
requires entry into a MADA or
MADA-like contract to license
GMS.

Compl. at { 97.

Because of Google’s secrecy,
Plaintiffs are unaware as to
whether MADAs as _ such, or
updated versions, continue to be
the specific operative documents
between Google and
manufacturers. But plainly
Google continues to bundle its
apps, including Google Play, into
a suite (the GMS suite) for U.S.
distribution, and plainly they can
only be licensed by contract.

Compl. at J 98.

Google is violating antitrust and
unfair competition law because of
the importance of its Google Play
client. Google uses its MADAs or
similar contracts to restrain and
quash competition in the Android
OS app distribution market. There
is no lawful reason to compel
manufacturers wishing to pre-load
the YouTube or Google Maps app
onto a device, to pre-load Google
Play as well. These restraints give
Google a de facto monopoly
because most users will not know
how to, or will not, sideload an
alternative app store onto a phone
(if they even know that is a
possibility). Google’s practice is a
pure power play designed to
maintain and extend its monopoly
in the Android

 

 

 

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OS app distribution market. Its
aim, of course, is to impose its
super-high 30% transaction fee on
developers who have no choice
but to pay it.

 

 

Compl. at 99.

 

11

 
